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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                             CIVIL FILE NO.:

ELIZABETH BUSCH and THOMAS
BUSCH, on behalf of themselves and            COMPLAINT AND INJUNCTIVE
all others similarly situated,                RELIEF PURSUANT TO THE
                                              TELEPHONE CONSUMER
             Plaintiffs,                      PROTECTION ACT, 47 U.S.C. §§
                                              227 et seq.
v.
                                              DEMAND FOR JURY TRIAL
BLUESTEM BRANDS, INC. D/B/A
FINGERHUT,

          Defendant.
__________________________________________________________________

                                INTRODUCTION

     1.      Elizabeth Busch and Thomas Busch (“Plaintiffs”) bring this Class
Action Complaint for damages, injunctive relief, and any other available legal or
equitable remedies, resulting from the illegal actions of Bluestem Brands, Inc. dba
Fingerhut (“Defendant” or “Fingerhut”), in negligently, and/or willfully contacting
Plaintiffs through telephone calls on Plaintiffs’ cellular telephones, in violation of
the Telephone Consumer Protection Act, 47 U.S.C. §§ 227 et seq., (“TCPA”),
thereby invading Plaintiffs’ privacy. Plaintiffs allege as follows upon personal
knowledge as to their own acts and experiences, and, as to all other matters, upon
information and belief, including investigation conducted by their attorneys.

                           NATURE OF THE ACTION

     2.      Fingerhut is an online retailer to which allows consumers to purchase
goods through fingerhut.com, the Fingerhut catalog or over the phone through a



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Fingerhut credit account. Fingerhut also makes collection calls to consumers for
purchases made and debt accrued through their service.
    3.        In an attempt to collect on alleged debts owed, Fingerhut routinely
contacts alleged debtors through telephone calls and text messages with automatic
telephone dialing equipment. However, when Fingerhut is unable to reach the
alleged debtors by a telephone number provided by the debtor, Fingerhut results to
locating new numbers on its own through unreliable skip tracing methods or through
number trapping – a number that it necessarily lacks express consent to call.
Unfortunately, as a result of this business practice, Fingerhut regularly makes calls
and sends text messages to cellular telephone numbers, without consent, in violation
of the TCPA. Additionally, after being warned of an incorrect intended recipient of
the call or advised to no longer call, Fingerhut continues to make calls and send text
messages to wrong numbers.
    4.        The TCPA strictly forbids nuisance calls exactly like those alleged in
this Complaint – intrusive phone calls and text messages to private cellular phones,
placed to numbers obtained without the prior express consent of the call recipients.
    5.        Fingerhut’s violations caused Plaintiffs and members of the Classes
actual harm, including aggravation, nuisance, and invasion of privacy that
necessarily accompanies the receipt of unsolicited phone calls, as well as the
violation of their statutory rights.
    6.        Plaintiffs seek an injunction stopping Fingerhut from making
unsolicited phone calls and sending unsolicited text messages, as well as an award
of statutory damages under the TCPA, together with costs and reasonable attorneys’
fees.
                           JURISDICTION AND VENUE

    7.        Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiffs
seek up to $1,500 in damages for each call/text messages in violation of the TCPA,
which, when aggregated among a proposed class number in the tens of thousands,


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exceeds the $5,000,000 threshold for federal court jurisdiction. Further, Plaintiffs
allege a national class, which will result in at least one class member belonging to a
different state than that of the Defendant, providing jurisdiction under 28 U.S.C. §
1332(d)(2)(A). Therefore, both elements of diversity jurisdiction under the Class
Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
    8.        This Court has federal question subject matter jurisdiction under 28
U.S.C. § 1331, as the action arises under the TCPA, a federal statute.
    9.        Venue is proper in the United States District Court for the District of
Minnesota pursuant to 28 U.S.C. §§ 1391(b) because Defendant, at all times herein
mentioned, was doing business in the State of Minnesota, and a substantial part of
the events giving rise to the claim occurred in this jurisdiction.
                                      PARTIES
    10.       Plaintiff Elizabeth Busch is, and at all times mentioned herein was, a
resident of the State of Connecticut. She is, and at all times mentioned herein was a
“person” as defined by 47 U.S.C. § 153 (32).
    11.       Plaintiff Thomas Busch is, and at all times mentioned herein was, a
resident of the State of Connecticut. He is, and at all times mentioned herein was a
“person” as defined by 47 U.S.C. § 153 (32).
    12.       Defendant Fingerhut maintains its corporate office at 6509 Flying
Cloud Dr., Eden Prairie, MN 55344 and is a “person” as defined by 47 U.S.C. § 153
(32).
    13.       Plaintiffs allege that at all times relevant herein Fingerhut conducted
business in the state of Minnesota and within this judicial district.




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            THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
                       (TCPA), 47 U.S.C. §§ 227 et seq.
      14.      In 1991, Congress enacted the Telephone Consumer Protection Act, 47
U.S.C. § 227 (TCPA),1 in response to a growing number of consumer complaints
regarding certain telemarketing practices.
      15.      The TCPA regulates, among other things, the use of automated
telephone equipment, or “autodialers.” Specifically, the plain language of section
227(b)(1)(A)(iii) prohibits the use of autodialers to make any call to a wireless
number in the absence of an emergency or the prior express consent of the called
party.2
      16.      According to findings by the Federal Communication Commission
(“FCC”), the agency Congress vested with authority to issue regulations
implementing the TCPA, such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of
privacy than live solicitation calls, and such calls can be costly and inconvenient.
The FCC also recognized that wireless customers are charged for incoming calls
whether they pay in advance or after the minutes are used.3
      17.      On January 4, 2008, the FCC released a Declaratory Ruling wherein it
confirmed that autodialed and prerecorded message calls to a wireless number by a
creditor (or on behalf of a creditor) are permitted only if the calls are made with the



1
 Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394
(1991), codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of the
Communications Act of 1934, 47 U.S.C. §§ 201 et seq.
2
    47 U.S.C. § 227(b)(1)(A)(iii).
3
 Rules and Regulations Implementing the Telephone Consumer Protection Act of
1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).


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“prior express consent” of the called party.4 The FCC “emphasize[d] that prior
express consent is deemed to be granted only if the wireless number was provided
by the consumer to the creditor, and that such number was provided during the
transaction that resulted in the debt owed.”5
      18.     Under the TCPA and pursuant to the FCC’s January 2008 Declaratory
Ruling, the burden is on Defendant to demonstrate that Plaintiffs provided express
consent within the meaning of the statute.
      19.     A text message is a call under the TCPA. Satterfield v. Simon &
Schuster, Inc., 569 F.3d 946, 955 (9th Cir. 2009).
                            FACTUAL ALLEGATIONS
      20.     Plaintiff Thomas Busch opened a Fingerhut account in or around 2013.
Plaintiff Thomas Busch did not provide Fingerhut with his cellular phone number.
      21.     Plaintiff Elizabeth Busch does not have a Fingerhut account and never
provided Fingerhut with her cellular phone number.
      22.     Beginning around at least January 2014, Plaintiff Thomas Busch
received a number of unsolicited phone calls and text messages from Fingerhut to
his wireless phone, for which Plaintiff Thomas Busch provided no consent to call.
Plaintiff Thomas Busch would, at times, receive calls up to five times per day.
      23.     Despite having no account with Fingerhut, beginning around at least
January 2014, Plaintiff Elizabeth Busch also received unsolicited phone calls and
text messages from Fingerhut to her wireless phone, for which Plaintiff Elizabeth
Busch provide no consent to call. Plaintiff Elizabeth Busch does not know how
Fingerhut received her number but believes Fingerhut may have used a technique



4
 In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991 (“FCC Declaratory Ruling”), 23 F.C.C.R. 559, 23 FCC Rcd.
559, 43 Communications Reg. (P&F) 877, 2008 WL 65485 (F.C.C.) (2008).
5
    FCC Declaratory Ruling, 23 F.C.C.R. at 564-65 (¶ 10).

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called number trapping whereby, an entity will “trap” a person phone number who
calls into the entity.
    24.       Specifically, one of the unsolicited text messages received by Plaintiff
Elizabeth Busch was from SMS code number 40-537. On January 26, 2016, the
message Plaintiff received from Defendant stated: “Fingerhut:          Download the
Fingerhut Mobile App to View Your Credit, Pay Your Bill & Receive Account
Notifications. Goo.gl/zlyU1Z. Reply STOP to cancel msgs to this # Fingerhut Acct
Alerts will come from 40537”.
    25.       Like the January 26, 2016 text message Plaintiff received, other text
messages received by the Plaintiffs were generic and impersonal in nature.
    26.       The unsolicited phone calls received by Plaintiffs were made by
artificial and prerecorded voices.
    27.       These unsolicited phone calls and text messages placed to Plaintiffs’
wireless telephones were placed via an “automatic telephone dialing system,”
(“ATDS”) as defined by 47 U.S.C. § 227 (a)(1) and by using “an artificial or
prerecorded voice” system as prohibited by 47 U.S.C. § 227 (b)(1)(A), which had
the capacity to produce or store numbers randomly or sequentially, and to dial such
numbers, to place telephone calls to Plaintiffs’ cellular telephone.
    28.       The existence of this ATDS is further evidence by the sheer volume of
calls and text messages received by Plaintiffs. Defendant could only make such calls
using such automated equipment.
    29.       The existence of this ATDS is further evidenced by the fact that the text
messages received by Plaintiffs were generic as to the intended recipient, i.e., the
text messages do not address Plaintiffs individually or in any fashion. Such generic
and impersonal messages indicate that these text messages were sent in bulk fashion
to numerous cellular telephones at one time and not manually delivered by human
intervention for each and every delivery.




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    30.      The telephone numbers that Defendant, or its agents, called were
assigned to cellular telephone services for which Plaintiffs incurred a charge for
incoming calls pursuant to 47 U.S.C. § 227 (b)(1).
    31.      These telephone calls constitute calls that were not for emergency
purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).
    32.      Despite Plaintiffs informing Fingerhut to stop calling and texting,
Fingerhut’s autodialer calls and texts to Plaintiffs’ cellular phone numbers
continued.
    33.      On information and belief, Fingerhut has a corporate policy to use an
automatic telephone dialing system or pre-recorded or artificial voice, and to make
autodialer calls just as they did to Plaintiffs’ cellular telephones in this case, with no
way for the called party and recipient of the calls, or the Defendant, to permit the
removal of a number.
    34.      Thus, these telephone calls and text messages by Defendant or its
agents therefore violated 47 U.S.C. § 227(b)(1).
    35.      On January 23, 2014, Plaintiff Thomas Busch filed the following
complaint with the Better Business Bureau’s Online Complaint System discussing
Fingerhut’s harassing conduct.

    I have a account with Fingerhut, it has been a nighmare to say the least. They
    schedule me for a payment plan than they change the amount due because of the
    their billing mistakes. They charge overlimit fees, late fees I called them several
    times a month about my bill. So then they put me on a special payment plan of
    $20.00 a month starting on 12/13/13 with APR of 14.90% and took away my
    credit limit they did this over the phone one day without telling me I was on a
    special plan. Then they started texting me that I owed them money they were
    calling me approximately 5 times a day for several days on my cell phone I
    dont even know how they got my number. It was terrible so I made another
    payment to stop the calls and the texts then it starts again so I told them about
    the letter I got in the mail and that I was suppose to be on a Special Payment
    Plan and they said as soon as you made another payment the Special Payment


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    Plan was null & void. My balance this month with them was $52.1 65 with a
    payment due of $87.97 which I paid at a 24.9% interest rate. I am suppose to
    now have a payment of $30.00 every month due on the 20th of every month, I
    am sure something will happen as to why they mess that up to I will never out
    of debt with their billing procedures. It is terrible and it is illegal the way they
    have treated me. [sic]

    36.      On February 2, 2014, Plaintiff Thomas Busch filed a second complaint
with the Better Business Bureau’s Online Complaint System stating the following:

    Lost my payments plans numberous times; Calling me, texting me emailing
    me harrasing nonstop. Hanging up; taking away credit so my credit score
    drops. My fingerhut account number is: XXXXXXX. Their customer
    service/billing department has lost all of the payment plans they set up for
    me so every month my bill would be paid, they continue to call my house &
    cell phones, text email saying I owe money every week or two. On 12/13/2013
    they enrolled me in a temporary hardship agreement without even telling me I
    did not know until they sent me a letter. Before I got the letter they kept harassing
    me with all methods of communication to pay them more money. I made another
    payment then at a later date I told them about the letter they has sent me they
    said the hardship agreement is now null&void since you made a payment. When
    they did the hardship agreement they took away my credit limit which post as
    negative on my credit report they did not even tell me they were doing this. They
    post late fee to my account. For example I paid $72.00 on 1/19/14 and set up
    another payment arrangement for $30 to paid on the 20th of every month they
    sent me a text message on 1/31/14 that reads Alert your fingerhut payment of
    $36.92 is due on 2/1/14 call 1-866-402-1267. At least every two weeks we get
    harrased my fingerhut collections to pay more money, i am sure they are
    charing fee of some kind, it is the worst company I have done business with.
    [sic]


    37.      Defendant has numerous other individually filed federal lawsuits
pending against them alleging similar violations as stated in this complaint,
including that Defendant’s automatic telephone dialing systems continues to call
people who have not provided their number or otherwise revoked consent to be
called.


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                         CLASS ACTION ALLEGATIONS
    38.        Plaintiffs jointly bring this action pursuant to Federal Rules of Civil
Procedure 23(b)(2) and 23(b)(3) on behalf of themselves and three classes defined
as follows:
       Auto-Dialer Class: Any person in the United States who (1) Defendant or its
       agents placed a call; (2) to that person’s cellular telephone number; (3)
       through the use of any automatic telephone dialing system as set forth in 47
       U.S.C. § 227(b)(1)(A)(3); and (4) where Defendant has no record of prior
       express consent for such individual to make such call or where the individual
       revoked consent, within four years prior to the filing of the Complaint through
       the date of final approval.

      Robo-Call Class: Any person in the United States who (1) Defendant or its
      agents placed a call; (2) to that person’s cellular telephone number; (3) and
      that call featured an artificial or pre-recorded; and (4) where Defendant has
      no record of prior express consent for such individual to make such call or
      where the individual revoked consent, within four years prior to the filing of
      the Complaint through the date of final approval.

      Text Message Class: Any person in the United States who (1) Defendant or
      its agents placed a text message call; (2) to that person’s cellular telephone
      number; (3) through the use of any automatic telephone dialing system as set
      forth in 47 U.S.C. § 227(b)(1)(A)(3); and (4) where Defendant has no record
      of prior express consent for such individual to make such call or where the
      individual revoked consent, within four years prior to the filing of the
      Complaint through the date of final approval.


    39.        Defendant and its employees or agents are excluded from the Classes.
    40.        Plaintiffs do not know the number of members in the Classes, but
believe the members number in the hundreds of thousands, if not more. Thus, this
matter should be certified as a class action to assist in the expeditious litigation of
this matter.
    41.        Plaintiffs and members of the Classes were harmed by the acts of
Defendant in at least the following ways: Defendant, either directly or through its


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agents, illegally contacted Plaintiffs and members of the Classes via their cellular
telephones by using unsolicited telephone calls and text messages, thereby causing
Plaintiffs and members of the Classes to incur certain cellular telephone charges or
reduce cellular telephone time for which Plaintiffs and the Class members previously
paid, and invading the privacy of said Plaintiffs and members of the Classes.
Plaintiffs and the Class members were damaged thereby.
    42.      This suit seeks only damages and injunctive relief for recovery of
economic injury on behalf of the Classes and it expressly is not intended to request
any recovery for personal injury and claims related thereto. Plaintiffs reserve the
right to expand the definitions of the Classes to seek recovery on behalf of additional
persons as warranted as facts are learned in further investigation and discovery.
    43.      The joinder of the members of the Classes is impractical and the
disposition of their claims in the class action will provide substantial benefits both
to the parties and to the Court. The Classes can be identified through Defendant’s
records or Defendant’s agents’ records.
    44.      There is a well-defined community of interest in the questions of law
and fact involved affecting the parties to be represented. The questions of law and
fact to the Classes predominate over questions which may affect individual Class
members, including the following:
           a. Whether, within four years prior to the filing of this Complaint
               through the date of final approval, Defendant or its agents placed
               telephone calls and text messages without the recipients’ prior express
               consent (other than a telephone call made for emergency purposes or
               made with the prior express consent of the called party) to a Class
               member using any automatic telephone dialing system or an artificial
               or pre-recorded voice system, to any telephone number assigned to a
               cellular telephone service;




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           b. Whether the equipment Defendant, or its agents, used to make the
               telephone calls in question was an automatic telephone dialing system
               as contemplated by the TCPA;
           c. Whether Defendant, or its agents, systematically made telephone calls
               to persons featuring an artificial or pre-recorded voice;
           d. Whether Defendant, or its agents, systematically made telephone calls
               to persons who did not previously provide Defendant with their prior
               express consent to receive such telephone calls;
           e. Whether Plaintiffs and the Class members were damaged thereby, and
               the extent of damages for such violation; and
           f. Whether Defendant and its agents should be enjoined from engaging
               in such conduct in the future.
    45.      As persons that received at least one unsolicited telephone call or text
message to their cell phones without their prior express consent, Plaintiffs are
asserting claims that are typical of the Classes. Plaintiffs will fairly and adequately
represent and protect the interests of the Classes in that Plaintiffs have no interest
antagonistic to any member of the Classes.
    46.      Plaintiffs and the members of the Classes have all suffered irreparable
harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
action, the Classes will continue to face the potential for irreparable harm. In
addition, these violations of law will be allowed to proceed without remedy and
Defendant will likely continue such illegal conduct. Because of the size of the
individual Class member’s claims, few, if any, members of the Classes could afford
to individually seek legal redress for the wrongs complained of herein.
    47.      Plaintiffs have retained counsel experienced in handling class action
claims and claims involving violations of the Telephone Consumer Protection Act.
    48.      A class action is a superior method for the fair and efficient adjudication
of this controversy. Class-wide damages are essential to induce Defendant to


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comply with federal law. The interest of the members of the Classes in individually
controlling the prosecution of separate claims against Defendant is small because
the maximum statutory damages in an individual action for violation of privacy are
minimal. Management of these claims is likely to present significantly fewer
difficulties than those presented in many class claims.
    49.      This class action is appropriate for certification because Defendant has
acted or refused to act on grounds generally applicable to the Classes as a whole,
thereby requiring the Court’s imposition of uniform relief to ensure compatible
standards of conduct toward the members of the Classes and making final injunctive
relief appropriate with respect to the Classes as a whole. Defendant’s practices
challenged herein apply to and affect each of the Classes’ members uniformly.
Plaintiffs challenge to those practices hinges on Defendant’s conduct with respect to
the Classes as whole, not on facts or law applicable only to Plaintiffs.

                       FIRST CAUSE OF ACTION
  NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                       47 U.S.C. §§ 227 ET SEQ.
    50.      Plaintiffs incorporate by reference all of the above paragraphs of this
Complaint as though fully stated herein.
    51.      Each such telephone call and text message was made using equipment
that, upon information and belief, had the capacity to store or produce telephone
numbers to be called, using a random or sequential number generator, and to dial
such numbers. By using such equipment, Defendant was able to effectively make
thousands of phone calls simultaneously to lists of thousands of wireless phone
numbers of consumers without human intervention.
    52.      Defendant also made telephone calls featuring a prerecorded or
artificial voice without the prior express consent of the Plaintiffs and other members
of the Class to receive such telephone calls.



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    53.      Defendant also text messages, en masse, through the use of a short code
and without the prior express consent of the Plaintiffs and the other members of the
Class to receive such text messages.
    54.      The foregoing acts and omissions of Defendant and its agents constitute
numerous and multiple negligent violations of the TCPA, including but not limited
to each and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
    55.      As a result of Defendant’s, and Defendant’s agents’, negligent
violations of 47 U.S.C. § 227 et seq., Plaintiffs and the Class are entitled to an award
of $500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
§ 227(b)(3)(B).
    56.      Plaintiffs and the Classes are also entitled to and seek injunctive relief
prohibiting such conduct in the future.

                          SECOND CAUSE OF ACTION
                  KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                    TELEPHONE CONSUMER PROTECTION ACT
                           47 U.S.C. §§ 227 ET SEQ.
    57.      Plaintiffs incorporate by reference by reference all of the above
paragraphs of this Complaint as though fully stated herein.
    58.      Each such telephone call and text message was made using equipment
that, upon information and belief, had the capacity to store or produce telephone
numbers to be called, using a random or sequential number generator, and to dial
such numbers. By using such equipment, Defendant was able to effectively make
thousands of phone calls simultaneously to lists of thousands of wireless phone
numbers of consumers without human intervention.
    59.      Defendant also made telephone calls featuring a prerecorded or
artificial voice without the prior express consent of the Plaintiffs and other members
of the Class to receive such telephone calls.




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       60.     Defendant also text messages, en masse, through the use of a short code
and without the prior express consent of the Plaintiffs and the other members of the
Class to receive such text messages.
       61.     The foregoing acts and omissions of Defendant constitutes numerous
and multiple knowing and/or willful violations of the TCPA, including but not
limited to each and every one of the above-cited provisions of 47 U.S.C. §§ 227 et
seq.
       62.     As a result of Defendant’s knowing and/or willful violations of 47
U.S.C. § 227 et seq., Plaintiffs and the Class are entitled to treble damages, as
provided by statute, up to $1,500.00, for each and every violation, pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
       63.     Plaintiffs and the Classes are also entitled to and seek injunctive relief
prohibiting such conduct in the future.

                                  PRAYER FOR RELIEF
         Wherefore, Plaintiffs respectfully request the Court to grant Plaintiffs and the
Class members the following relief against Defendant:

               FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                         THE TCPA, 47 U.S.C. §§ 227 ET SEQ.

       64.     As a result of Defendant’s, and Defendant’s agents’, negligent
violations of 47 U.S.C. § 227(b)(1), Plaintiffs seek for themselves and each member
of the Classes $500.00 in statutory damages, for each and every violation, pursuant
to 47 U.S.C. § 227(b)(3)(B).
       65.     Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiffs seek injunctive relief
prohibiting such conduct in the future.
       66.     Any other relief the Court may deem just and proper.




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             SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
                VIOLATION OF THE TCPA, 47 U.S.C. §§ 227 ET SEQ.
    67.        As a result of Defendant’s, and Defendant’s agents’, willful and/or
knowing violations of 47 U.S.C. § 227(b)(1), Plaintiffs seek for themselves and each
Class member treble damages, as provided by statute, up to $1,500.00 for each and
every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
    68.        Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
conduct in the future.
    69.        Any other relief the Court may deem just and proper.
                                     JURY DEMAND
          Plaintiffs hereby demand a trial by jury on all issues so triable.

Dated: March 14, 2016                          By: s/ Thomas J. Lyons Jr.

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                                                  Attorneys for Plaintiffs and the
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